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                    UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                Case No. 09-cr-88-01/05-SM

Juan Garcia Hernandez, et al



                                     ORDER

      Defendant Janeth Sarmiento's assented-to motion to continue the trial for 60

days (document no. 47) is granted. Trial has been rescheduled for the August 2009

trial period. Defendant shall file a Waiver of Speedy Trial Rights not later than June

15, 2009. On the filing of such waiver, her continuance shall be effective.

      The court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial, 18 U.S.C.

§ 3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny

the defendant the reasonable time necessary for effective preparation taking into

account the exercise of due diligence under the circumstances.

      Final Pretrial Conference:        July 24, 2009 at 4:00 PM
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      Jury Selection:              August 4, 2009 at 9:30 AM

      SO ORDERED.



June 3, 2009                   _________________________
                                   Steven J. McAuliffe
                                   Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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